
Markman, J.
(concurring). I concur with the Court’s order denying leave to appeal, but write separately to express considerable sympathy for defendant’s position. Defendant finds himself subject to a jury verdict of $9,467 in actual damages and $170,000 in exemplary damages. It is clear to me that defendant’s initial actions fell within the scope of his employment and were undertaken in good faith. Indeed, defendant’s actions reflected a conscientious public servant determined to prevent the abuse of public monies. Normally, this would warrant a finding that defendant, a public school official, was entitled to governmental immunity. But, viewing the evidence in the light most favorable to plaintiff, as *986is required in reviewing an appeal from a motion for a directed verdict, Zsigo v Hurley Med Ctr, 475 Mich 215, 220-221 (2006), I can only conclude that defendant’s final communication with plaintiffs insurer exaggerated the actual facts as they then existed and that this communication contained unfounded and inaccurate information to the extent that defendant was no longer acting in good faith. Finally, I note that the amount of exemplary damages here seems extraordinarily excessive in light of the actual damages awarded. But, defendant has not raised any claim regarding the propriety or amount of such exemplary damages.
